Case 2:10-cr-00851-CCC   Document 254       Filed 01/14/13   Page 1 of 1 PageID: 2564



                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY


                                        :
UNITED STATES of AMERICA                           O R D E R
                                        :

            v.                          :      Case No.      2:10cr851-11(DMC)

SALVATORE LAGRASSO                      :




            This matter having been opened to the court by
defendant Salvatore Lagrasso, Peter W. Till, Esq appearing to

modify defendants current release conditions to permit him to

work for Zamora Trucking, and Anthony Mahajan, Assistant US

Attorney having filed opposition;            and

            The court having reviewed same; and

            For good cause shown;

            It is on this 11th day of January 2013              ORDERED that

the motion of the defendant is GRANTED insofar as his employment

with Zamora Trucking does not involve any port related work.




                                         /S/ DENNIS M. CAVANAUGH
                                        DENNIS M. CAVANAUGH , U.S.D.J.
